
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-268-CV



IN RE RONALD J. HOLLEMAN	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.





PER CURIAM





PANEL: &nbsp;GARDNER, WALKER, and MEIER, JJ.



DELIVERED: &nbsp;August 21, 2009

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.




